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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION

STACY RICHARDSON and                )
WRECKER1, INC.,                     )
                                    )
     Plaintiffs,                    )               CIVIL ACTION
                                    )               NO. 1:19-cv-00054-MLB
v.                                  )
                                    )
THE GEORGIA DEPARTMENT              )
OF TRANSPORTATION, JASON M.         )
JOSEY, ANDREW HEATH, PARSONS )
TRANSPORTATION GROUP, INC.,         )
JEFF CORBIN, CHRISTINE SIMONTON, )
CAPTAIN MARK WESLEY, ANDREW )
BATES, CHAD HENDON,                 )
JEFF PUCKETT, JERRY GOSSETT,        )
SCOTT KAPTON, KATHY ZAHUL,          )
EDWARD MCKISSACK,                   )
PAGE PORTER, RORY HOWE,             )
TRACEY FRANCIS and                  )
AMY WILCOCK,                        )
                                    )
     Defendants.                    )
____________________________________)

                   PLAINTIFFS’ MOTION FOR REMAND

      Plaintiffs, Stacy Richardson (“Mrs. Richardson”) and Wrecker 1, Inc.

(collectively “Wrecker1”), by and through their counsel, hereby file their Motion for

Remand (the “Motion”) and, in support, show the Court as follows:

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                                INTRODUCTION

      This case arises from the ongoing misconduct of the State Defendants 1 and

their co-defendants 2 related to their application, enforcement and interpretation of

certain specifications, regulations, policies and procedures related to the Towing and

Recovery Incentive Program (“TRIP” program) as to Wrecker1, including the

purported probation and termination of Wrecker1 from the TRIP Program.

Wrecker1 filed its original complaint against Defendants in Fulton County Superior

Court. However, the State Defendants removed that case to this Court on the sole

basis of this Court’s federal question jurisdiction. Wrecker1 did not object to

removal at the time, and Wrecker1 does not contend that this Court lacked subject

matter jurisdiction over the claims asserted in Wrecker1’s original complaint.




1
 Defendants, the Georgia Department of Transportation (“GDOT”), and Jason M.
Josey, Andrew Heath, Captain Mark Wesley, Andrew Bates, Chad Hendon, Jeff
Puckett, Jerry Gossett, Kathy Zahul, and Page Porter (collectively, the “State
Defendants”).
2
 The remaining Defendants consists of Tracey Francis, Parsons Transportation
Group, Inc., Jeff Corbin, Christine Simonton, Scott Kapton, Edward McKissack,
Rory Howe, and Amy Wilcock (together with the State Defendants, “Defendants”).
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         However, Wrecker1 since has filed its First Amended Complaint (the

“Amended Complaint”) [Doc. 26] against Defendants on February 25, 2019, in

accordance with Fed. R. Civ. P. 15(a)(1)(B). In its Amended Complaint, Wrecker1

removed all of its federal claims against Defendants and asserts only state law claims

against them. This Court therefore no longer has any federal question jurisdiction

over the claims asserted in Wrecker1’s Amended Complaint. Wrecker1 accordingly

requests that the Court decline to exercise its supplemental jurisdiction over

Wrecker1’s state law claims and remand this case back to Fulton County Superior

Court.

                FACTUAL AND PROCEDURAL BACKGROUND

         On November 27, 2018, Wrecker1 filed its Original Complaint in the case

styled as Richardson, et. al. v. Georgia Dept. of Trans., et. al., Civil Action No.

2018-cv-313557, Fulton County Superior Court (the “Superior Court Lawsuit”),

asserting claims against Defendants for declaratory judgment, equal protection and

due process violations pursuant to 42 U.S.C. §§ 1983, 1985 and 1986, negligent

performance of duties, and tortious interference with business relations.




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       On January 3, 2019, the State Defendants filed their Notice of Removal (the

“Notice of Removal”) [Doc. 1], which removed the Superior Court Lawsuit to this

Court. In their Notice of Removal, the State Defendants contend that this Court has

subject matter jurisdiction over the claims asserted in the Superior Court Lawsuit

based solely on “federal questions” presented in Wrecker1’s Original Complaint.

[Id. at ¶ 4.]

       Wrecker1 filed its Amended Complaint on February 25, 2019, pursuant to

Fed. R. Civ. P. 15(a)(1)(B). In its Amended Complaint, Wrecker1 revises certain of

its factual allegations, including to correctly identify some Defendants and an ante

litem notice previously sent by Wrecker1 to the State Defendants, and removes all

of Wrecker1’s claims under federal law, including pursuant to 42 U.S.C. §§ 1983,

1985 and 1986.

                 ARGUMENT AND CITATION TO AUTHORITY

     I.    Standard of Review.

   “A defendant may remove a civil action filed in a state court to the federal district

court for the district in which the action is pending if the district court would have

had jurisdiction over the suit.” PTA-Fla, Inc. v. ZTE USA, Inc., 844 F.3d 1299, 1304-

5 (11th Cir. 2016) (citing 28 U.S.C. § 1441(a)). “The ‘district court must have at

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least one of three types of subject matter jurisdiction: (1) jurisdiction under a specific

statutory grant; (2) federal question jurisdiction pursuant to 28 U.S.C. § 1331; or (3)

diversity jurisdiction pursuant to 28 U.S.C. § 1332(a).’” Id. at 1305 (quoting Baltin

v. Alaron Trading Corp., 128 F.3d 1466, 1469 (11th Cir. 1997)).

      In the instant case, the Notice of Removal relies solely on federal question

jurisdiction pursuant to 28 U.S.C. § 1331. [See Notice of Removal at ¶ 4.] Diversity

jurisdiction under 28 U.S.C. § 1332(a) does not exist in this case, including because

the State Defendants and Wrecker1 each reside, maintain their principal place of

business, are political entities of, or were incorporated in the State of Georgia. [See

Amended Complaint, ¶¶ 12-16, 20-24, 26, 28, 30.] No statute specifically grants

this Court any exclusive subject matter jurisdiction over the claims asserted in the

Superior Court Lawsuit.

      “Generally, whether an action raises a federal question ‘is governed by the

‘well-pleaded complaint rule,’ which provides that federal jurisdiction exists only

when a federal question is presented on the face of the complaint.’” Behlen v. Merrill

Lynch, 311 F.3d 1087, 1090 (11th Cir. 2002) (quoting Caterpillar, Inc. v. Williams,

482 U.S. 386, 392 (1987)). “Thus, the plaintiff is ‘the master of the claim … [and]

may avoid federal jurisdiction by exclusive reliance on state law.’” Id.

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      However, the “question whether subject matter jurisdiction exists is measured

as of the time the Complaint was filed.” Baggett v. First Nat’l Bank, 117 F.3d 1342,

1352 (11th Cir. 1997). If a federal question claim existed at the time the complaint

was filed, then the Court may properly exercise its subject matter jurisdiction over

such federal question claim, as well as its supplemental jurisdiction over any state

law claims under 28 U.S.C. § 1367(a). Id. (citations omitted). If a complaint later

is amended to remove any federal cause of action, the Court nevertheless retains

discretion to retain jurisdiction over the state law claims. See Behlen, 311 F.3d at

1095 (citations omitted) (“The court had discretion to retain jurisdiction over the

state law claims even after Behlen amended the complaint to remove any federal

cause of action.”); Baggett, 117 F.3d at 1352.

      In such instances, however, “there is a strong argument for declining to

exercise supplemental jurisdiction over the remaining state law claims.” Arnold v.

Tuskegee Univ., 212 Fed. Appx. 803, 811 (11th Cir. 2006). “State courts, not federal

courts, should be the final arbiters of state law.” Baggett, 117 F.3d at 1353. “This is

especially true” where federal claims are dismissed “prior to trial.” Id. (citations

omitted).



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      Moreover, “removal statutes should be construed narrowly with any doubt

resolved in favor of remand.” DeLaughder v. Colonial Pipeline Co., 2018 U.S. Dist.

LEXIS 215314 at *4 (N.D. Ga. Dec. 21, 2018) (J. Story) (citations omitted). In

addition, “Defendants, as the removing party, bear the burden of establishing federal

jurisdiction and overcoming the preference towards remand.” Id. at *7 (motion for

remand granted where no “substantial question of federal law” was a necessary

element of causes of action).

      “Where an action originates in state court and is later removed to federal court,

though, district courts should remand to state court the state claims over which they

decline to exercise supplemental jurisdiction.” McDuffle v. Broward Cnty., 654 Fed.

Appx. 408, 411 (11th Cir. 2016). Indeed, the Eleventh Circuit has stated that

“federal district courts must remand, rather than dismiss, state claims over which

they decline to exercise supplemental jurisdiction.” Id. (quoting Myers v. Cent. Fla.

Invs., Inc., 592 F.3d 1201, 1226-7 (11th Cir. 2001)).

   II.    This Court Should Decline to Exercise Subject Matter Jurisdiction
          Over Wrecker1’s Claims In The Amended Complaint.

      Prior to the filing of the Amended Complaint, Wrecker1 asserted its claims

against Defendants in the Superior Court Lawsuit.          Through their Notice of

Removal, the State Defendants removed that case to this Court relying solely on the
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Court’s federal question jurisdiction under 28 U.S.C. § 1331. Wrecker1 did not

object to removal at the time, and Wrecker1 does not contend that the Court lacked

subject matter jurisdiction over Wrecker1’s claims at the time of removal.

        However, Wrecker1 has filed its Amended Complaint since the removal of

the Superior Court Lawsuit to this Court. Under the allegations of the Amended

Complaint, no substantial question of federal law exists as a necessary element of

any of the claims asserted by Wrecker1 against Defendants, which instead involve

only state law claims. Accordingly, no federal question jurisdiction remains in this

case.

        The case of Hildebrand v. City of Warner Robins, 2018 U.S. Dist., LEXIS

83811 at *1 (M.D. Ga. May 18, 2018), involved almost identical claims and

procedural issues. In that case, the plaintiff’s initial complaint was filed in Houston

County Superior Court and asserted claims against the governmental and individual

defendants for federal due process and equal protection violations under 42 U.S.C.

§ 1983. Id. at *2. Wrecker1 asserted the same claims against the State Defendants

in the Superior Court Lawsuit.




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      The defendants in the Hildebrand case properly removed the case to the

district court. Id. at *1. In this case, the State Defendants also properly removed

the Superior Court Lawsuit to this Court. The plaintiff in the Hildebrand case then

filed an amended complaint which “dropped those federal claims” and alleged only

a state law claim “thereby removing the lone basis for the Court’s jurisdiction.” Id.

at *2. Here, Wrecker1 also filed its Amended Complaint and removed any federal

claims against Defendants.

      After noting that the district court had “discretion to retain jurisdiction in a

situation such as this,” the district court in the Hildebrand case exercised “its

discretion to remand this case rather than retain jurisdiction,” thereby rendering the

defendants’ pending motion to dismiss moot. Id. at *2-3. As already noted, “there

is a strong argument for declining to exercise supplemental jurisdiction over the

remaining state law claims” after all federal claims have been dismissed. Arnold,

212 Fed. Appx. at 811. Namely, “[s]tate courts, not federal courts, should be the

final arbiters of state law.” Baggett, 117 F.3d at 1353. Moreover, “removal statutes

should be construed narrowly with any doubt resolved in favor of remand.”

DeLaughder, 2018 U.S. Dist. LEXIS 215314 at *4.



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       Wrecker1 therefore respectfully requests that this case be remanded to Fulton

County Superior Court for those same reasons. See McDuffle, 654 Fed. Appx. At

411.

                                  CONCLUSION

       For all of the foregoing reasons, Wrecker1 respectfully requests that the Court

decline to exercise its supplemental jurisdiction over Wrecker1’s claims in the

Amended Complaint and remand this case to Fulton County Superior Court.




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Respectfully submitted this the 4th day of March, 2019.

                                      FISHERBROYLES, LLP


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                    CERTIFICATE OF COMPLIANCE

     I hereby certify that the foregoing memorandum has been prepared in 14-

point Times New Roman font and complies with LR 5.1, NDGa and LR 7.1(D),

NDGa.



                                    _/s/ Vincent Bushnell_________________
                                    Vincent Bushnell
                                    Georgia Bar No. 098999




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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF GEORGIA
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EDWARD MCKISSACK,                   )
PAGE PORTER, RORY HOWE,             )
TRACEY FRANCIS and                  )
AMY WILCOCK,                        )
                                    )
     Defendants.                    )
____________________________________)

                         CERTIFICATE OF SERVICE

      I hereby certify that on March 4, 2019, I caused the foregoing document to

be filed with the Clerk of Court using the CM/ECF system, which automatically

will send electronic mail notification to the following attorneys of record:

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                            __/s/ Vincent Bushnell______________
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